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Ynited States Tourt of CAppeals

FOR THE D|STR|CT OF COLUMB|A ClRCUIT

 

No. 07-7140 September Term, 2007
o1cv02094
Filed On:

Deborah D. Peterson, Persona| Representative of the
Estate of James C. Knipp|e (Deceased), et a|.,

 

 

 

Appe|lees
Catherine Bonk, Personai Representative of the UN|TEDSTATESCOURTOFAFPEN_S
Estate Of JOhn Bonk, Jr., et a|., FOR D'STR.GTOF COLuMB|AC‘RCUn'

Appe||ants '_1

V HL£D FEB 2 2 2008

islamic Repub|ic of |ran, |\/|inistry of Foreign Affairs, et CLERK
ai.,

Appe||ees

 

Conso|idated With 07-7148

0 R D E R
Upon consideration of appellants’ motion for remand and for dismissal of appea|,
it is

ORDERED that the motion be granted, and these cases are hereby dismissed
without prejudice to any further proceedings in the district court.

The C|erk is directed to transmit forthwith to the district court a certified copy of
this order in lieu of formal mandate

FOR THE COURT:
|\/|ark J. Langer, C|erk

BY; /M
l\/|ark But|er
Deputy C|erk

  
 

for the "`
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